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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                                      Chapter 11
In re:

NOBLE HOUSE HOME FURNISHINGS, LLC, et al.,1                           Case No. 23-90773 (CML)

                                     Debtors                          (Joint Administration Pending)


                    DECLARATION OF GAYLA BELLA IN SUPPORT
              OF DEBTORS’ CHAPTER 11 PETITIONS AND FIRST DAY RELIEF

         I, Gayla Bella, pursuant to section 1726 of title 28 of the United States Code, hereby declare

that the following is true to the best of my knowledge, information, and belief:

         1.      I am the Chief Financial Officer (the “CFO”) of Noble House Home Furnishings,

LLC (“Noble House” and together with the other above-captioned debtors, the “Debtors”, and,

together with each Debtor’s direct and indirect non-Debtor subsidiaries, the “Company”), having

been appointed by Noble House’s Board to said position in December 2022. As CFO of Noble

House, I have gained a substantial understanding of the Debtors and their non-Debtor affiliates’

day-to-day operations, businesses, and financial affairs.

         2.      I am also a Managing Director of Riveron Management Services, LLC (“Riveron”),

a national business advisory firm, which I joined in 2017. Riveron has been serving as the

Company’s restructuring advisor since September 2022. I have extensive experience in turnaround

management, and have served as the chief financial officer for both a professional services firm

and consumer products retailer. I have significant consulting experience and expertise in the areas



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    The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
    numbers, are: Noble House Home Furnishings LLC (1671); Best Selling Home Decor Furniture, LLC (5580),
    Le Pouf, LLC (8197), NH Services LLC (9626), and Heavy Metal, Inc. (3124). The Debtors’ service address in
    these Chapter 11 cases is 700 Milam Street, Suite 1300, Houston, TX 77002.


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of cash management, debt restructuring, divestitures, due diligence, mergers and acquisitions,

profit improvement, and valuation.

        3.       Except as otherwise indicated herein, the facts set forth in this declaration (this

“Declaration”) are based upon my personal knowledge, my review of relevant documents,

information provided to me by employees of or advisors to the Debtors, including my colleagues

at Riveron, or my opinion based upon my experience, knowledge, and information concerning the

Debtors’ operations. If called upon to testify, I would testify competently to the facts set forth in

this Declaration.

        4.       Headquartered in Chatsworth, California, the Company is a distributor,

manufacturer and retailer of indoor and outdoor home furnishings with distribution throughout e-

commerce channels including partners such as Amazon, Wayfair, Overstock, Target and Home

Depot, fulfilling direct to consumer orders from its distribution centers. Family-owned since its

founding in 1992, the Company designs, markets and sells its products under several brands

including Christopher Knight Home, NobleHouse, LePouf, OkiOki, Best Selling and GDFStudio,

and leases offices, warehouses, and other sites in California, Georgia and Texas.

        5.       On September 11, 2023 (the “Petition Date”), the Debtors each commenced a

voluntary case under chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”) in

the United States Bankruptcy Court for the Southern District of Texas (the “Court”) and continue

to operate their business and manage their properties as debtors in possession.

        6.       To minimize any adverse effects of filing the bankruptcy petitions (the “Petitions”)

and to preserve value for the benefit of all stakeholders, the Debtors have filed a number of motions

requesting various forms of “first day” relief (collectively, the “First Day Pleadings”). I submit,

and am authorized by the Debtors to submit, this Declaration in support of the Petitions and the




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First Day Pleadings. The relief requested in the First Day Pleadings is necessary to preserve and

maximize the value of the Debtors’ estates and allow them to sustain their current operations in

chapter 11 and effectuate a going concern sale.

                                          INTRODUCTION

        7.       As a result of the current market conditions, including high inflation and softer

consumer purchases in the furniture space, and faced with limited liquidity, the Company has

commenced these chapter 11 cases to effectuate a going-concern sale of the Debtors’ assets to a

stalking horse buyer, subject to an auction process and any higher and better bids. While the

Company experienced rapid revenue growth during the COVID 19 pandemic, supply chain issues,

driven by freight and delivery times, drove up costs of goods. As sales began to decline in 2022,

higher expenses capitalized in inventory and infrastructure growth posed challenges. Despite the

best efforts of the Company and its advisors to cut costs and secure the capital necessary to

preserve the business as a going concern, the Company is unable to meet its financial obligations.

The Company has worked in concert with its secured lender to develop an appropriate budget to

facilitate an expedited sale that will maximize value and recoveries for stakeholders in these cases.

        8.       This Declaration is intended to provide a summary overview of the Debtors’

business and the circumstances leading to the commencement of these chapter 11 cases, and to

support the relief that the Debtors seek in the First Day Pleadings. I have organized this

Declaration as follows:

                     Part I provides a general overview of the Company’s corporate history and
                      business operations;

                     Part II describes the circumstances leading to the commencement of these
                      chapter 11 cases; and

                     Part III sets forth the evidentiary basis for the relief requested in each of the
                      First Day Pleadings.



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                                                  I.

                   THE COMPANY’S HISTORY AND BUSINESS OPERATIONS

A.      General Background

        9.       Noble House, together with its affiliates, has been in the furniture and home

furnishings industry (supply, retail, and distribution) for over 20 years since 1992, and 10 years in

e-commerce. Including indoor and outdoor furnishings, the Company has a wide and diverse range

of products, including over 100 categories of products and 8,000 core SKUs. Family-owned since

its founding in 1992, the Debtors operate several furniture brands including Christopher Knight

Home, LePouf, OkiOki, NobleHouse, Best Selling and GDFStudio.

        10.      The majority of the Company’s net sales are through e-commerce channels (direct

fulfillment for third party websites and the Company’s own e-commerce websites). The direct

fulfillment for third party websites includes, but is not limited to Ebay.com, Costco.com,

Wayfair.com, Amazon.com, WalMart.com, HomeDepot.com, Lowes.com and Target.com. The

Company’s e-commerce websites include GDFStudio.com, OkiOki.com, and LePoufhome.com.

Primarily all sales and deliveries of merchandise to the end customers/users are purchased though

e-commerce and market place sites.        The Company also sells through wholesale channels,

primarily to the Big Box retailers – TJMaxx, Home Goods, Marshalls, Ross Stores and others;

such arrangements comprise only approximately 1% of the Company’s revenues. The Company

also maintains a physical outlet store.

        11.      The Company has a broad base of over 50 suppliers, supported by an internally

developed and maintained IT system that allows for end-to-end inventory tracking supporting

available inventory, review responses and delivery management. The Company sources globally

from China, Malaysia, Vietnam and India, and operated a bean bag and pouf manufacturing arm




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in the United States. The Company has over two million square feet of in its distribution centers

to hold inventory and is supported by its trucking/logistics operation, NH Services, Inc.

        12.      As of the Petition Date, the Debtors’ offices and facilities (all leased) consist of

their corporate headquarters, a 100,000 sq. ft. facility, and an outlet store located in Chatsworth,

California; a corporate office in Houston, Texas; distribution facilities in El Monte and Ontario,

California, and Savannah, Georgia; and LePouf manufacturing and showroom sites in Las Vegas.

        13.      As of the Petition Date, the Debtors had approximately 275 employees (less than

30% of whom are full-time employees and the balance are hourly employees) in the areas of

corporate, operations, customer service, IT, marketing and sales, product development,

warehouses, stores/outlet, accounting, HR and deliveries.         As discussed further below, the

Company regularly supplements its workforce with many independent contractors through staffing

agency support in order to maintain its flexibility for the higher demands during the summer

months. As discussed herein, the Debtors also utilize back-office functions provided by overseas

non-Debtor affiliates. None of the Debtors’ employees are represented by a labor union or covered

by a collective bargaining agreement.

        14.      For the years ended December 31, 2022 and 2021, the Company had annual net

sales of approximately $491 million and $671 million, respectively. For the years ended December

31, 2022 and 2021, the Company had reported a comprehensive income of -$34 million and $7

million, respectively.

B.      Corporate/Equity Structure and Management

        15.      A simplified organizational chart for the Company, including certain non-Debtor

and foreign affiliates, is attached hereto as Exhibit A. Debtor Noble House wholly owns the other




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Debtors except Heavy Metal Inc. (“Heavy Metal”). Debtor Heavy Metal owns a 79.3187% interest

in Noble House; the remaining interests are held by other non-Debtor members.

        16.      In addition, as set forth on Exhibit A, the Debtors have other affiliates which are

not Debtors in these proceedings that are primarily foreign affiliates. None of these affiliates have

commenced bankruptcy or insolvency proceedings.

C.      Debt Structure

        17.      As of the Petition Date, the Debtors’ primary long term debt obligations consisted

of approximately $73.89 million plus interest, fees and other costs due to Wells Fargo under the

Prepetition ABL Agreement (discussed next). As of the Petition Date, the Debtors estimate that

they also have approximately $65.3 million of outstanding accounts payable owed to various trade

vendors, suppliers and other parties.

        Credit Agreement with Wells Fargo and Defaults

        18.      Pursuant to that certain Credit Agreement dated as of December 3, 2021 (as

amended, restated, supplemented, or otherwise modified from time to time, the “Prepetition ABL

Agreement,” and collectively with the Loan Documents (as defined in the Prepetition ABL

Agreement) and any other agreements and documents executed or delivered in connection

therewith, each as may be amended, restated, supplemented, waived or otherwise modified from

time to time, the “Prepetition ABL Documents”), among (a) certain of the Debtors and their

affiliates, (b) Wells Fargo Bank, National Association, as administrative agent (in such capacity,

the “Prepetition ABL Agent” or “Wells Fargo”); and (c) the several lenders from time to time party

thereto (and including the Prepetition ABL Agent, the “Prepetition ABL Lenders,” and collectively

with the Prepetition ABL Agent, letter of credit issuers and bank product providers, the

“Prepetition ABL Parties”), the Prepetition ABL Lenders provided revolving credit and other




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financial accommodations to, and issued letters of credit for the account of, certain of the Debtors

pursuant to the Prepetition ABL Documents (the “Prepetition ABL Facility”).

        19.      The Prepetition ABL Facility provided the Debtors with, among other things, up to

$110,000,000 aggregate principal amount of Revolver Commitments (as defined in the Prepetition

ABL Agreement), including letters of credit obligations. As of the Petition Date, the aggregate

principal amount outstanding under the Prepetition ABL Facility was approximately $70.4 million

in outstanding revolving loans and approximately $3.5 million in issued and outstanding letter of

credit obligations.

        20.      As more fully set forth in the Prepetition ABL Documents and the DIP Motion

(discussed in Part III), prior to the Petition Date, the Debtors granted to the Prepetition ABL Agent,

for the benefit of itself and the Prepetition ABL Parties, a first priority security interest in and

continuing lien on substantially all assets of the Debtors, including the “Collateral” (as defined in

the Prepetition ABL Agreement), and all proceeds, products, accessions, rents, and profits thereof,

in each case whether then owned or existing or thereafter acquired or arising, subject only to certain

permitted prior liens.

                                                 II.

                             EVENTS LEADING TO THE PETITION DATE

A.      Debtors’ Liquidity Issues and Challenging Business Environment

        21.      The COVID-19 pandemic (from March 2020 onward) and its aftermath primarily

drove significant effects on the Company and its businesses and operations, posing challenges for

the Debtors over the past several years, including supply and distribution chain issues, particularly

as the majority of the Debtors’ merchandise have been and continue to be made in China.




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Challenges included, among other issues, substantially increased inventory costs and long lead

times.

         22.     Notably, during the pandemic, the Company achieved 48% and 11% net revenue

growth in fiscal year (FY) 2020 and FY 2021, respectively. Based on industry performance

overall, customers purchased more furniture and home goods than in prior periods, potentially as

a result of being home more often. However, towards the end of 2021 as the pandemic was

subsiding, the Debtors’ sales began decreasing relative to prior years and since then, have

continued to decline to levels closer to 2018. Net revenue declined more than 26% from December

2021 to December 2022 and 27% when comparing YTD July 2023 to YTD July 2022. Further, as

a result of reporting on a FIFO (First in – First out) basis, margins continued to be impacted by

higher freight costs through May 2023.

         23.     Overall, from 2022 onward, easing COVID-19 stay-at-home restrictions and

resulting return-to-office dynamics, rising and persistent inflation, and supply chain challenges

have put significant downward pressure on the Company’s business. Total net sales decreased

from $671 million in 2021 to $491 million in 2022, with 2023 revenue projected to be lower.

Reported income in 2021 was $7 million, decreasing to -$34 million in 2022.

         24.     During 2023 in particular, the Debtors’ liquidity and availability has worsened. As

noted above, the Debtors had defaulted under their financial coverage ratios, and subsequently,

availability was further constricted. In 2023, the Company, among other actions, implemented

significant cost reductions, including headcount reductions, further optimization of inventory

management, and vacating its Edgewater, New Jersey facility as of mid-May 2023.2



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  Prepetition, the landlord for the New Jersey real property had commenced state court actions against the Company
for nonpayment of rent and breach of contract. The Debtors vigorously dispute the allegations in the actions and
reserve all their rights relating thereto.


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B.      Prepetition Negotiations and Marketing Process

        25.        In light of the foregoing circumstances, the Debtors engaged in negotiations with

Wells Fargo regarding a potential consensual resolution of the Prepetition ABL Facility and, in

February 2023, the Company retained as its investment banker, Lincoln International LLC

(“Lincoln”), to initially run a refinancing process for the Debtors. Lincoln has worked closely

with the Debtors’ management to analyze the Debtors’ financial position and outlook, prepare

marketing and diligence materials (including a Confidential Information Presentation), and

populate an electronic data room (the “Data Room”).

        26.        With regard to financing, Lincoln began contacting approximately 192 parties in

March 2023, and of those, 92 parties signed nondisclosure agreements (“NDAs”) and had access

to the comprehensive Data Room. No viable refinancing option resulted from this process.

        27.        With regard to a potential sale of the Debtors’ business, commencing in July 2023,

Lincoln contacted approximately 60 potential buyers. To date, 23 of these parties have signed

non-disclosure agreements. Three parties submitted preliminary, non-binding Indications of

Interest (IOIs).

        28.        The foregoing prepetition process culminated in the Asset Purchase Agreement

dated as of September 11, 2023 (the “Stalking Horse Purchase Agreement”) by and between the

Debtors and GigaCloud Technology Inc. (the “Stalking Horse Purchaser”), a third party public

company, for the sale of substantially all of the Debtors’ assets. Pursuant to the terms of the

Stalking Horse Agreement, the Stalking Purchaser has agreed to buy the purchased assets for $85

million, subject to a working capital adjustment, plus $4.1 million for certain equipment, plus the

assumption of certain liabilities. The Stalking Horse Agreement has an outside closing date of

October 31, 2023.            The Debtors anticipate that disclosure of the Stalking Horse Purchase




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Agreement and approval of the procedures provided for in the Sale/Procedures Motion (the

“Bidding Procedures”) will facilitate the continuation of the marketing process, which may lead

to the receipt of competing bids and an auction. Whether or not any overbids are received, the

Debtors’ sale process will enable their estates to achieve a value-maximizing transaction.

        29.      Thus, the Debtors filed these chapter 11 cases to effectuate a sale of substantially

all their assets to a going-concern buyer through a transaction that will preserve the Debtors’

business operations, jobs, and vendor relationships, subject to an auction/overbidding process, and

maximize the value of the Debtors’ estates for the benefit of all stakeholders.

                                                 III.

                                    FIRST DAY PLEADINGS

        30.      Confronted with the foregoing circumstances, the Debtors determined it to be in

their best interests to commence the chapter 11 cases and implement, as appropriate, sales and/or

other transactions to maximize value for the Debtors’ stakeholders.

        31.      I am familiar with the contents, including the factual statements, of each of the

motions set forth below (the “First Day Pleadings”) (including the exhibits and other attachments

thereto) and, to the best of my knowledge, after reasonable inquiry, believe the relief sought in

each First Day Pleadings: (a) will enable the Debtors to sustain operations while in chapter 11;

(b) is critically needed immediately in order to allow the Debtors’ ability to maximize the value of

their estates and operate their businesses; (c) is, in each case, narrowly-tailored and necessary to

achieve the goals identified above; and (d) serves the best interests of the Debtors’ estates and

creditors and is necessary to avoid irreparable harm to the estates.




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                                Procedural/Administrative Motions

A.     Debtors’ Emergency Motion for Order Directing Joint Administration of Related Chapter
       11 Cases (the “Joint Administration Motion”)

        32.      The Debtors request entry of an order directing procedural consolidation and joint

administration of these Chapter 11 Cases.

        33.      I am informed and understand that the Debtor entities that commenced these

Chapter 11 Cases are “affiliates” as that term is defined in section 101(2) of the Bankruptcy Code.

Joint administration for procedural purposes only is appropriate in the Debtors’ cases. Given the

integrated nature of the Debtors’ operations, joint administration will provide significant

administrative convenience without harming the substantive rights of any party in interest. Many

of the motions, hearings, and orders in these Chapter 11 Cases will affect each of the Debtor

entities. Joint administration will allow the U.S. Trustee and all parties in interest to monitor these

Chapter 11 Cases efficiently and with greater ease, as all filings will be available on one docket

rather than across multiple dockets.

B.      Emergency Ex Parte Application for Entry of an Order Authorizing the Employment
        and Retention of Epiq Corporate Restructuring, LLC As Claims, Noticing, and
        Solicitation Agent (“Claims Agent Motion”)



        34.      The Debtors request approval to employ Epiq to serve as Claims and Noticing

Agent in their chapter 11 cases to provide the services outlined in the Engagement Letter. The

Debtors believe that Epiq’s rates are competitive and reasonable, Epiq has the expertise required

in a complex chapter 11 case, and Epiq’s employment is in the best interest of the estates.




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C.     Debtors’ Emergency Motion for Entry of an Order (I) Authorizing the Debtors to Redact
       Certain Personally Identifiable Information, (II) Approving the Form and Manner of
       Notifying Creditors of the Commencement of the Chapter 11 Cases and Other
       Information, and (III) Granting Related Relief (the “PII Motion”)

        35.      As set forth in the PII Motion, the Debtors believe it appropriate for the Debtors to

redact from any paper filed or to be filed with the Court in these Chapter 11 cases, including the

consolidated list of creditors and Schedules and Statements, information other than the name of

individual creditors including the Debtors’ employees, independent contractors, and former

employees because such information can be used to perpetrate identity theft and phishing scams

or to locate survivors of domestic violence, harassment, or stalking, exposing the Debtors to

potential civil liability and significant financial penalties.

        36.      Absent the relief requested in the PII Motion, the Debtors (a) would unnecessarily

render individuals more susceptible to identity theft and (b) could jeopardize the safety of

claimants in these Chapter 11 cases who, unbeknownst to the Debtors, are survivors of domestic

violence, harassment, or stalking by publishing their home addresses without any advance notice

or opportunity to opt out or take protective measures.

D.      Debtors’ Emergency Motion for Entry of an Order (I) Restating and Enforcing the
        Worldwide Automatic Stay, Anti-Discrimination Provisions, and Ipso Facto Protections
        of the Bankruptcy Code, and (II) Granting Related Relief (the “Stay Motion”)

        37.      Pursuant to the Stay Motion, the Debtors seek entry of an order (a) restating and

enforcing the worldwide automatic stay, anti-discrimination provisions, and ipso facto protections

of the Bankruptcy Code, and (b) authorizing, but not directing, the Debtors to translate the Stay

Motion and the order thereon, as well as any other filing in the Debtors’ chapter 11 cases, into

other languages to better inform creditors, governmental units, and interested parties of the relief

requested.




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        38.      The Debtors utilize a broad base of over 50 highly integrated suppliers, sourcing

their home furnishings, home décor, and other inventory (the “Inventory”) from suppliers in China,

Malaysia, Vietnam, and India, in addition to their U.S.-based suppliers. Moreover, the Debtors’

operations are supported by the functions and services of non-Debtor affiliates located overseas,

principally in Asia, to support their global supply network and operations. In this regard, the

Debtors, in the ordinary course of business, rely on, and incur obligations to, suppliers of goods

and/or services and other creditors that are based outside the United States. These goods and

services are vital to preserving and maximizing the value of the Debtors’ businesses.

        39.      Without continued support from their non-U.S. suppliers, the Debtors would face

severe interruptions and delays to their daily operations. Importantly, any disruption to the

Debtors’ supply chain could result in a significant loss of operational efficiency, decreasing the

value of their businesses, which could impair stakeholder value at the very outset of these chapter

11 cases.

        40.      Many of the Debtors’ foreign suppliers lack meaningful, if any, contacts with the

United States. Non-U.S. creditors and contract counterparties operating in non-U.S. jurisdictions

may be unfamiliar with the chapter 11 process, the scope of a debtor in possession’s authority to

operate its business, or the importance and implications of the automatic stay. Moreover, certain

of the Debtors’ non-U.S. creditors—and others—may attempt to seize assets located outside of the

United States or take other actions violating the automatic stay to the detriment of the Debtors,

their estates, and creditors. By the Stay Motion, the Debtors seek to better inform non-U.S. trade

creditors of the automatic stay and other protections of the Bankruptcy Code, thereby further

deterring adverse action.




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        41.      Finally, the Debtors are party to certain executory contracts and other agreements,

principally related to the supply of the Debtors’ Inventory. Non-U.S. counterparties thereto could

attempt to terminate such leases or contracts upon the commencement of these chapter 11 cases

pursuant to ipso facto provisions, violating sections 362 and 365 of the Bankruptcy Code.

        42.      For the avoidance of doubt, the Debtors do not seek to expand or enlarge the rights

afforded to them under the Bankruptcy Code with the Stay Motion. Instead, the Debtors seek to

affirm those rights and believe that an order from this Court will help protect the Debtors against

improper actions taken by, and provide clarity for, non-U.S. parties in interest.

E.      Debtors’ Emergency Motion for Entry of an Order (I) Extending Time to File
        (A) Schedules of Assets and Liabilities, (B) Schedules of Current Income and
        Expenditures, (C) Schedules of Executory Contracts and Unexpired Leases, (D)
        Statements of Financial Affairs, and (E) Rule 2015.3 Financial Reports, and
        (II) Granting Related Relief (the “Schedules Extension Motion”)

        43.      By the Schedules Extension Motion, the Debtors request an order (a) extending the

deadline by which the Debtors must file their schedules of assets and liabilities, schedules of

current income and expenditures, schedules of executory contracts and unexpired leases, and

statements of financial affairs (collectively, the “Schedules and Statements”) by 25 days, for a total

of 39 days from the Petition Date, through and including October 20, 2023; (b) extending the

deadline by which the Debtors must file their initial reports of financial information with respect

to entities in which the Debtors hold a controlling or substantial interest as set forth in Federal Rule

of Bankruptcy Procedure 2015.3 (the “2015.3 Reports”) to and including 39 days after the Petition

Date (i.e., October 20, 2023), without prejudice to the Debtors’ ability to request additional

extensions or to file a motion seeking a modification of such reporting requirements for cause.

        44.      The Debtors submit that ample cause exists to grant the requested relief. To prepare

their Schedules and Statements, the Debtors will have to compile information from books, records,

and documents relating to thousands of claims, assets, leases, and contracts from each of the six


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Debtor entities. Collection of the necessary information will require a significant expenditure of

time and effort on the part of the Debtors, their employees, and their advisors at a time when such

resources would be best used to stabilize the Debtors’ business operations at the outset of these

cases. Additionally, because this information is voluminous and located in numerous places

throughout the Debtors’ organization, including in certain non-Debtor affiliates based in Asia, it

may be some time before the Debtors have access to all of the information required to prepare the

Schedules and Statements.

        45.      Further, certain of the Debtors maintain interests in non-Debtor subsidiaries that

may fall under the ambit of Bankruptcy Rule 2015.3 and, as such, the Debtors would be required

to file 2015.3 Reports. The Debtors believe that cause exists to extend the deadline for filing the

2015.3 Reports based on (a) the size, complexity, and scope of the Debtors’ business and (b) the

substantial burdens imposed by compliance with Bankruptcy Rule 2015.3 in the early days of these

Chapter 11 Cases.

                                  Financing/Operational Motions

A.      Debtors’ Emergency Motion for Entry of Interim and Final Orders (I) Authorizing the
        Debtors to (A) Obtain Postpetition Financing and (B) Use Cash Collateral, (II) Granting
        Liens and Providing Superpriority Administrative Expense Claims, (III) Granting
        Adequate Protection to Prepetition ABL Parties, (IV) Modifying the Automatic Stay, (V)
        Scheduling a Final Hearing, and (VI) Granting Related Relief (“DIP Financing
        Motion”)

        46.      By the DIP Financing Motion, the Debtors seek (i) approval of the proposed senior

secured, superpriority postpetition financing on a superpriority basis consisting of a senior secured

superpriority revolving credit facility in the aggregate principal amount of up to $12,200,000 in

new money advances plus the DIP Roll-Up Obligations (the “DIP Facility”) pursuant to the terms

and conditions of DIP Agreement with Wells Fargo Bank, N.A. as the DIP Agent and a DIP

Lender; (ii) authorization to apply all collections and proceeds of DIP Collateral to reduce, on a



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dollar for dollar basis, the Prepetition ABL Obligations (the “Creeping Roll-Up”) and, upon entry

of the Final Order, converting all remaining outstanding Prepetition ABL Obligations into DIP

Obligations (the “DIP Roll-Up Obligations”); (iii) approval of adequate protection to the

Prepetition ABL Parties for any diminution in value of their interests in the Prepetition Collateral,

including Cash Collateral; and (iv) the granting of related relief set forth in the proposed order on

the DIP Financing Motion.

        47.      The Debtors require immediate access to the DIP Loans, and continued use of Cash

Collateral, to fund operations, capital expenditures, and the administrative costs of these Chapter

11 Cases. As of the Petition Date, the Debtors’ cash on hand is insufficient to operate their

enterprise and continue paying their obligations as they come due. The Debtors’ business is cash-

intensive, with significant daily costs required to satisfy obligations to the Debtors’ customers,

landlords, vendors, and employees. Access to the DIP Loans and Cash Collateral also will allow

the Debtors to consummate a value-maximizing, going concern sale, either with the Stalking Horse

Purchaser or an alternative overbidder.

        48.      The Debtors rely on the liquidity generated from their operations to, among other

things, procure home furnishings to sell to their customers. Because the Debtors operate in a

competitive industry, a seamless transition into chapter 11 and the ability to continue uninterrupted

operations is imperative to preserve relationships with the Debtors’ suppliers and the loyalty and

goodwill of their customers, vendors, and employees, and the going-concern value of the Debtors.

The Debtors and their advisors have carefully reviewed and analyzed the Debtors’ projected cash

receipts and disbursements and prepared a budget outlining the Debtors’ postpetition cash needs

over the course of the Chapter 11 Cases, a copy of which is attached to the proposed Interim Order.




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The Debtors determined that they require immediate access to DIP financing to fund the costs of

these Chapter 11 Cases and ongoing business operations.

        49.      The Debtors believe that the DIP Facility provides the Debtors with sufficient

liquidity to maintain their operations, fund the administration of these Chapter 11 Cases, and

provide sufficient runway to market and consummate a going-concern sale of substantially all the

Debtors’ assets. The DIP Facility will allow the Debtors to: (a) continue satisfying obligations to

the Debtors’ contract counterparties; (b) reassure other stakeholders, including the Debtors’

customers and employees, that the Debtors have sufficient funds to continue operating in the

ordinary course; (c) fund the Debtors’ payroll obligations; (d) fund the administrative costs of

these Chapter 11 Cases; and (e) consummate a value-maximizing, going concern sale transaction.

Absent funds available from the DIP Loans and access to Cash Collateral, the Debtors could face

a value-destructive interruption to their business and lose support from important stakeholders on

which the Debtors’ business depends. This result, in turn, would hinder the Debtors’ ability to

maximize the value of their estates, and the Debtors would be forced to curtail their operations

significantly, or even cease operations, to the severe detriment of all stakeholders.

        50.      Further, I believe the adequate protection provided in the Interim Order (the

“Adequate Protection”) is fair and reasonable under the circumstances. The Adequate Protection

package proposed for the Prepetition Lenders includes the liens and superpriority claims described

in the Interim Order. Taken together, the cumulative effect of all of these provisions is to provide

reasonable and appropriate adequate protection for the Prepetition ABL Parties.

        51.      In evaluating possible financing sources for the Debtors’ postpetition financing, the

Debtors’ advisors determined that no third-party lender is willing to provide DIP financing to the

Debtors on terms or timing more favorable than the DIP Facility. Starting in mid-August 2023,




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the Debtors’ advisors contacted eighteen potential DIP lenders, of whom thirteen signed non-

disclosure agreements. No third-party provided an actionable proposal to lend.

        52.      The Debtors do not reasonably believe there are strong grounds to support a third-

party priming facility under section 364 of the Bankruptcy Code. Additionally, the Debtors believe

that the delays, costs, and futility of continuing to shop for such third-party financing from every

possible source, as well as the attendant delay in stabilizing the Debtors’ operations, more than

justify proceeding with the DIP Facility instead.

        53.      Accordingly, it was clear to the Debtors and their advisors that their best path to

financing these Chapter 11 Cases was through financing from the Prepetition ABL Parties.

Following extensive arm’s-length and good faith negotiations with the Prepetition ABL Parties,

the Debtors reached agreement on the proposed DIP Facility, the terms of which are fair and

reasonable.

B.      Debtors’ Emergency Motion for Entry of Interim and Final Orders (I) Authorizing
        Maintenance of Existing Bank Accounts; (II) Authorizing Continuance of Existing
        Cash Management System; (III) Granting Limited Waiver of Section 345(b) Deposit
        Requirements; (IV) Authorizing Continued Performance of Intercompany Transactions
        and Funding; and (V) Granting Related Relief (the “Cash Management Motion”)

        54.      Pursuant to the Cash Management Motion, the Debtors seek entry of interim and

final orders (i) authorizing the Debtors to (a) continue operating the Cash Management System;

(b) honor and pay the Fees in the ordinary course, including any prepetition Fees; (c) maintain

existing business forms; and (d) continue intercompany transactions and funding consistent with

the Debtors’ historical practices, subject to the terms described in the Cash Management Motion;

(ii) granting a limited waiver of the deposit and investment requirements imposed by section

345(b) of the Bankruptcy Code; and (iii) granting related relief.

        55.      In the ordinary course of business, the Debtors utilize a centralized cash

management system (the “Cash Management System”) to collect, manage, and disburse funds used


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in their business. The Cash Management System is essential to the stability of the Debtors’ assets

and business objectives and to maximizing the value of their estates. Importantly, the continuity

of the Cash Management System is critical to the Debtors’ ability to operate and receive revenue

from its customers.

        56.      The Cash Management System is tailored to meet the operating needs of the

Debtors by enabling them to centrally control and monitor corporate funds, ensure cash availability

and liquidity, and reduce administrative burdens by facilitating the movement of funds between

and among the Debtors and their non-Debtor affiliates. These controls are critical to the operation

of the Debtors’ businesses given the significant volume of transactions managed through the Cash

Management System. The Debtors’ treasury department maintains daily oversight over the Cash

Management System and controls the entering, processing, and releasing of funds, including in

connection with Intercompany Transactions (discussed below). As the Debtors require prompt

access to cash for their daily operations, any disruption of the Cash Management System would

have an immediate and devastating adverse effect on the Debtors’ operations to the detriment of

their estates and stakeholders.

        57.      As of the Petition Date, the Debtors maintain ten bank accounts (the “Debtor Bank

Accounts” or “Bank Accounts”) at three banks (the “Banks”).3 The Debtors’ primary Bank is

Wells Fargo Bank (“Wells Fargo”), at which the Debtors maintain seven Bank Accounts. The




3
    The Debtors administer and manage certain accounts for non-Debtor affiliates pursuant to operating agreements
    or other arrangements. Such accounts and the funds therein belong to the applicable non-Debtor affiliate (subject
    to any applicable agreements) and are not commingled with the accounts (and funds therein) held in the Debtors’
    names.



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Debtors also maintain (a) two Bank Accounts at Pacific Western Bank (“PacWest”) and (b) one

Bank Account at Chase Bank.4

        58.      In addition to the Bank Accounts, the Debtors maintain accounts with a number of

third party payment services (the “Market Place Services”) that allow the Debtors to manage and

collect online payments (collectively, the “Market Place Accounts” and together with the Bank

Accounts, the “Accounts”). While the Market Place Accounts represent a small portion of the

Debtors’ revenue, the Debtors believe maintaining the Market Place Accounts is necessary and

appropriate given the online nature of the Debtors’ business.

        59.       Further, in the ordinary course of business, the Company engages in intercompany

transactions and transfers of funds among various Bank Accounts (“Intercompany Transactions”).

As a result, Intercompany Transactions may exist that reflect intercompany receivables and

payables (“Intercompany Claims”) made in the ordinary course of business between and among

Debtors and their non-Debtor foreign affiliates. These Intercompany Claims may include transfers

from the Master Account to fund the operations and expenses of certain of the Debtors’ non-

Debtor, foreign subsidiaries, which are essential components of the Debtors’ complex international

operations. The foreign Intercompany Claims generally arise in one of two ways:

        60.      First, and as discussed in the Wage Motion, the Debtors fund the operating

expenses of their non-Debtor subsidiaries in Asia (the “Operating Subsidiaries”) that provide

various back office services to the Debtors’ U.S.-operations. The Operating Subsidiaries are

necessary for the operation of the Debtors’ business and allow the Debtors to utilize lower cost

offshore employees and resources. The expenses of the Operating Subsidiaries include the cost of


4
    Certain of the Debtors’ non-Debtor foreign subsidiaries maintain bank accounts at Wells Fargo in their own name.
    A domestic non-Debtor, Noble House Assurance, LLC (“NH Assurance”), is a single parent captive, which
    maintains an assurance account at Wells Fargo.



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renting and maintaining office space and total approximately $135,000 per month (exclusive of

the costs of employee wages and benefits). Second, the Debtors historically pay certain costs and

expenses of their other foreign subsidiaries in the ordinary course of business and are then

reimbursed in the ordinary course of business. As of the Petition Date, there are no amounts owing

to any non-Operating Subsidiaries and the Debtors anticipate that any amounts that may need to

be funded in the future will be de minimis. Further, and as discussed in Utilities Motion, Debtor

Le Pouf, LLC, maintains a Bank Account at Chase Bank, which is used to fund all deposits and

payments to utility companies across the Debtor entities. During the bankruptcy, the Debtors will

record and track the Intercompany Transactions and Intercompany Claims that occur across the

corporate structure, as and after they occur, through entries in the general ledger.

        61.      By the Cash Management Motion, the Debtors seek to balance their desire to

minimize disruptions to their businesses and preserve estate value, on the one hand, and to provide

this Court with an appropriate level of supervision and oversight, on the other hand. Thus, the

Debtors propose the following approach with respect to each postpetition Intercompany

Transaction (each, a “Postpetition Intercompany Transaction”): the Debtors seek authority, but not

direction, to continue entering into ordinary course Postpetition Intercompany Transactions

(including with respect to any netting and setoff) without further notice or Court approval. The

Debtors will maintain current records with respect to all postpetition cash transfers so that all

Postpetition Intercompany Transactions may be readily ascertained, traced and properly recorded

on any applicable intercompany accounts.

        62.      Further, to ensure that no Debtor will fund the operations of a Debtor at the expense

of such entity’s creditors, the Debtors request, pursuant to Bankruptcy Code sections 503(b)(1)

and 364(b), that all Intercompany Claims on account of valid postpetition transfers from a Debtor




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to another Debtor or to a non-Debtor subsidiary, including an Operating Subsidiary, be accorded

administrative expense status, subject and junior only to the claims, including adequate protection

claims, granted in connection with the Debtors’ use of cash collateral, and in accordance with any

interim and final order, as applicable, approving the use of cash collateral (collectively, the “Cash

Collateral Orders”).

        63.      Allowing the Debtors to engage in postpetition Intercompany Transactions is in the

best interests of the Debtors’ estates and their creditors, and the Debtors seek authority to enter

into such Intercompany Transactions in the ordinary course of business. The Debtors will continue

to maintain records of Intercompany Transactions, including records of all current intercompany

accounts receivables and payables. If the Intercompany Transactions were to be discontinued, the

Cash Management System and related administrative controls would be disrupted to the Debtors’

and their estates’ detriment. The continued performance of the Intercompany Transactions is in

the best interest of the Debtors’ estates and their creditors.

        64.      The Debtors further seek a waiver of the deposit requirements set forth in section

345 of the Bankruptcy Code. As discussed in the Cash Management Motion, all of the Bank

Accounts are FDIC-insured (up to applicable limits), and most of the Bank Accounts are

maintained at Wells Fargo and Chase Bank, both of which have executed a Uniform Depository

Agreement (“UDA”) with, and are designated as authorized depositories by, the U.S. Trustee,

pursuant to the U.S. Trustee Operating Guidelines. The Debtors believe that their other Bank,

PacWest, and the Market Place Accounts are reputable and financially stable. Further, all PacWest

accounts and Market Place Accounts either (i) are zero balance accounts or (ii) on average, contain

relatively small amounts of funds (below the $250,000 FDIC insurance limit) as reflected in




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Exhibit 2 (balances) attached to the Cash Management Motion, and are routinely swept to the

Master Account.

        65.      Further, the Debtors incur certain fees and charges in connection with the ordinary

course operation of the Cash Management System (collectively, the “Fees”). The Fees include

account maintenance charges, charges relating to ACH and wire transfers, lockbox and depository

service charges, and other customary miscellaneous charges. The Debtors do not believe there are

any material prepetition Fees outstanding on the Petition Date, but nonetheless seek approval to

pay and, for the Bank to deduct, any such Fees in the ordinary course when due.

C.    Debtors’ Emergency Motion for Entry of an Order Authorizing the Debtors to (I) Pay
      and/or Honor Prepetition Wages, Salaries, Employee Benefits, and Other Compensation;
      (II) Remit Withholding Obligations and Deductions; (III) Maintain Employee
      Compensation and Benefits Programs and Pay Related Administrative Obligations; and
      (IV) Have Applicable Banks and Other Financial Institutions Receive, Process, Honor,
      and Pay Certain Checks Presented for Payment and Honor Certain Fund Transfer
      Requests (“Wage Motion”)

        66.      In the ordinary course of business, the Debtors pay wages and compensation and

related accrued administrative fees to employees, independent contractors, and related third-party

recipients, maintain various Health and Welfare Benefits, and withhold various taxes and other

amounts as may be required by law (collectively, the “Compensation and Benefits”). By the Wage

Motion, which facts therein are incorporated herein, the Debtors seek authorization to pay all

Compensation and Benefits that accrued prepetition and to continue to meet their obligations under

the Compensation and Benefits programs.

        67.      As of the Petition Date, the Debtors employ approximately 275 employees (the

“Employees”) (salaried and hourly employees).            The Debtors’ workforce also includes

approximately 109 independent contractors (the “Independent Contractors”), whom are sourced

from various staffing agencies (the “Staffing Agencies”) to fulfill certain duties on a short and

long-term basis. The Debtors also utilize back-office functions provided by four overseas non-


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Debtor affiliates Noble House Home Furnishings Vietnam Company Limited, Noble House Home

Furnishings (MY) Sdn.Bhd, Fujian Baimei Electronic Commerce Co., Ltd., and Baimei (Fujian)

Network Information Technology Co., Ltd. (the “Operating Subsidiaries”) that collectively

employ 156 individuals (the “Operating Subsidiaries Employees” and together with the Employees

and the Independent Contractors, the “Workforce”).5

         68.      The vast majority of the Workforce relies on compensation and benefits to pay daily

living expenses. These individuals will be unfairly harmed if the Debtors are not permitted to

continue paying their compensation and providing health and other benefits during these Chapter

11 Cases. The Debtors’ Workforce is essential to the Debtors’ business, and payment of the

Compensation and Benefits at this time is necessary to avoid potential material disruption to the

Debtors’ ordinary-course operations. Finding, attracting, and training new qualified talent would

be extremely difficult, particularly given current labor market conditions. Such recruitment efforts

would most likely require, among other things, higher salaries, guaranteed bonuses, and more

comprehensive compensation packages than are currently provided to members of the Workforce.

Further, delaying payment of Compensation and Benefits risks a needless, value-destructive

disruption of the Debtors’ businesses.

         69.      I believe that the Employees have extensive knowledge of the operation of the

Debtors’ business and are important components to the successful resolution of the Debtors’ cases.

Deterioration in the morale and welfare of the Employees at this critical time undoubtedly would

adversely impact the Debtors and their ability to sustain their operations. Satisfaction of the




5
    The non-Debtor Operating Subsidiaries employ approximately 263 employees in total around the globe. The
    Debtors do not directly fund the payroll of any of these employees, but do periodically indirectly fund such payroll
    as part of the Company’s cash management system. The payment, when made, is then accounted for on the
    Debtors’ and Operating Subsidiaries’ books as receivables and payables, respectively. Authority to continue this
    practice is sought in the Cash Management Motion.


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Compensation and Benefits, as described in the Wage Motion, is necessary to maintain the

Employees’ morale during the cases and to ensure continued, efficient operation in order to

maximize value for all stakeholders.

D. Debtors’ Emergency Motion for Entry of an Order (I) Authorizing the Payment of Certain
   Taxes and Fees and (II) Granting Related Relief (the “Taxes/Fees Motion”)

        70.      Pursuant to the Taxes/Fees Motion, the Debtors seek entry of an order authorizing

the Debtors in their discretion to remit and pay certain Taxes and Fees, including amounts that

may have accrued prepetition, in the ordinary course of business (including, without limitation,

using tax credits to offset Taxes and Fees), and granting related relief.

        71.      In the ordinary course of business, the Debtors collect, withhold, and incur taxes

and fees related to sales and use, property, income, annual reporting fees, audits, and business and

regulatory fees (as discussed further below, collectively, the “Taxes and Fees”).6 The Debtors

remit the Taxes and Fees to various governmental authorities on a monthly, quarterly, semi-annual,

or annual basis (collectively, the “Authorities”). A schedule identifying the Authorities is attached

to the Taxes/Fees Motion.

        72.      The Debtors seek authority to make payments where (a) the Taxes and Fees have

accrued or were incurred prepetition but (i) were not paid prepetition or (ii) were paid in an amount

less than actually owed, (b) the Debtors made payments prepetition that were lost or the Authorities

did not receive the prepetition payments in full, which may give rise to interest and other penalties,

(c) the Taxes and Fees were incurred for prepetition periods and become due and payable after the

Petition Date, (d) the Taxes and Fees accrued or are incurred postpetition, and (e) the Taxes and

Fees are for so-called “straddle” periods.


6
    The Debtors do not seek authority to pay prepetition amounts related to employment taxes and payroll withholding
    taxes under the Taxes/Fees Motion, but rather request such authority in the Wage Motion.



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        73.      Failure to pay the Taxes and Fees could materially disrupt the Debtors’ business

operations in various ways, including: (a) the Authorities may initiate audits or other proceedings

for the Debtors, which would unnecessarily divert the Debtors’ attention from the chapter 11 cases;

(b) the Authorities may attempt to suspend the Debtors’ operations, file or assert liens, seek to lift

the automatic stay, and/or pursue other remedies that will harm the estates; and (c) in certain

instances, the Debtors’ directors and officers could be subject to claims of personal liability, which

would likely distract those key individuals from their duties related to the Debtors’ bankruptcy.

Unpaid Taxes and Fees may result in fines and penalties, the accrual of interest, or both. Finally,

the Debtors collect and hold certain outstanding tax liabilities in trust for the benefit of the

applicable Authorities, and these funds may not constitute property of the Debtors’ estates.

        74.      In sum, the Debtors’ ability to pay the Taxes and Fees is critical to their continued

and uninterrupted operations, and accordingly, the Taxes/Fees Motion, the facts of which are

incorporated herein, is in the best interest of the estates and all stakeholders.

F.      Debtors’ Emergency Motion for the Entry of an Order (I) Approving the Proposed
        Adequate Assurance Deposit for Future Utility Services, (II) Prohibiting Utility
        Providers From Altering, Refusing, or Discontinuing Services, (III) Approving the
        Proposed Adequate Assurance Procedures for Resolving Adequate Assurance Requests,
        and (IV) Granting Related Relief (the “Utility Motion”)

        75.      Pursuant to the Utility Motion, the Debtors seek entry of an order (a) determining

that the Adequate Assurance Deposit provides the Utility Providers with adequate assurance of

payment within the meaning of section 366 of the Bankruptcy Code, (b) prohibiting the Utility

Providers from altering, refusing, or discontinuing services, (c) approving the Adequate Assurance

Procedures for resolving any dispute in connection with the Adequate Assurance Deposit, and (d)

granting related relief.

        76.      In connection with the operation of their businesses, the Debtors obtain and

critically need electricity, water, gas, internet, telephone, telecom, waste management, sewer,


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recycling, and other similar services (collectively, the “Utility Services”), from a number of utility

providers (collectively, the “Utility Providers”). On average, the Debtors spend approximately

$112,947 each month in the aggregate, or approximately $28,236 each week on Utility Services,

using the historical average of payments made to the Utility Providers. The Debtors intend to

satisfy postpetition obligations owed to the Utility Providers in the ordinary course of business and

in a timely manner. The Debtors’ cash on hand, cash generated in the ordinary course of business,

and the availability under Debtors’ proposed debtor in possession financing will provide for

sufficient liquidity for payments to Utility Providers in accordance with ordinary prepetition

practice. As additional assurance of payment, the Debtors propose to deposit $39,751.02 (as

adjusted for any existing deposits, the “Adequate Assurance Deposit”), equal to approximately

two weeks of the average weekly cost of Utility Services, into a segregated bank account (the

“Adequate Assurance Account”) maintained by the Debtors.

        77.      The proposed procedures for the Adequate Assurance Deposits and dealing with

the Utility Providers should be approved because they facilitate the Debtors’ ability to provide

assurance of future payment without prejudicing the rights of Utility Providers.

G.      Debtors’ Emergency Motion for Entry of an Order (I) Authorizing the Payment of
        Shippers and Warehousemen, and (II) Granting Related Relief (the
        “Shippers/Warehousemen Motion”)

        78.      Pursuant to the Shippers/Warehousemen Motion, the Debtors seek an order

authorizing the Debtors to pay certain shipper and warehouseman claims in the ordinary course of

business on a postpetition basis.

        79.      In the ordinary course of business, the Debtors engage certain vendors (the

“Shippers”) to transport or deliver its goods and materials (the “Materials”) to the Debtors’

distribution centers and warehouses and then ultimately to the Debtors’ customers. Delivery of the

Materials in a timely manner is integral to the Debtors’ business. Additionally, the Debtors rely on


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certain additional vendors (collectively, the “Warehousemen” and together with the Shippers, the

“S&W Claimants”) in the ordinary course of business to store Materials when not in transit.

        80.      I am informed and understand that if the Debtors were to default on any obligation

to the Warehousemen, the Warehousemen may assert a lien, attempt to take possession of the

Debtors’ property, or bar the Debtors’ access to Materials stored at the Warehousemen’s yards. In

addition, under most state laws, a Shipper or a Warehouseman may have a lien on the goods in its

possession, which lien secures the charges or expenses incurred in connection with the

transportation or storage of such goods. As a result, certain S&W Claimants may refuse to deliver

or release Materials or other property in their possession or control, as applicable, before the

prepetition amounts owed to them by the Debtors (collectively, the “S&W Claims”), have been

satisfied and their liens redeemed.

        81.      In the twelve months preceding the Petition Date, the Debtors paid approximately

$160 million in S&W Claims. As of the Petition Date, the Debtors estimate that they have

approximately $10 million of prepetition S&W Claims outstanding. To continue using the S&W

Claimants transportation and storage services and have access to the Materials held or controlled

thereby, the Debtors request authority to pay prepetition S&W Claims as they become due and

payable and to continue paying S&W Claims in the ordinary course of business on a postpetition

basis, subject to certain conditions and procedures set forth in the Shippers/Warehousemen

Motion.

        82.      As explained in the Shippers/Warehousemen Motion, the Debtors’ revenues and

their relationships with their retail partners could be placed in jeopardy absent the relief requested,

risking diminution of the Debtors’ going concern value at this critical time. Accordingly, the

Debtors submit that the payment of the S&W Claims is necessary to protect the Debtors’ business




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and ensure that the Debtors are able to maximize the value of their estates during these chapter 11

cases.

H.       Debtors’ Emergency Motion Seeking Entry of an Order (I) Authorizing the Debtors to
         Maintain and Administer Their Existing Customer Programs and Honor Certain
         Prepetition Obligations Related Thereto, and (II) Granting Related Relief (the
         “Customer Programs Motion”)

         83.     Pursuant to the Customer Programs Motion, the Debtors seek an order

(a) authorizing the Debtors to maintain and administer their customer-related programs (the

“Customer Programs”) in the ordinary course of business consistent with prepetition practices,

including allowing for recoupments and offsets of undisputed debts; and pay and honor certain

prepetition obligations related thereto; and (b) granting related relief.

         84.     The Debtors’ customers are generally large e-Commerce partners like Amazon,

Walmart, Wayfair, and Home Depot (the “Customers”).                To preserve the Debtors’ critical

relationships with its Customers, the Debtors have historically provided certain credits and

discounts discussed below to their Customers. The Customer Programs are beneficial and cost-

effective, and they promote the goodwill of the Debtors’ business. While the exact terms of the

Customer Programs (and relevant rates) vary by individual contract, the Debtors generally have

agreed to concessions in favor of their customers at an aggregate rate of 21% of their monthly sales

for a total of approximately $7 million per month year to date. This amount varies from week to

week based on seasonal and other promotions. In the aggregate, the Debtors believe there is

approximately $10.4 million in prepetition obligations outstanding under the Customer Programs

as of the Petition Date.

                 (i)         Freight Allowance. The Debtors provide a freight allowance to certain of

         their Customers. The freight allowance is based on an agreed-upon percentage of gross

         sales and constitutes a discount to the total freight costs charged through to the Customer.



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                 (ii)        Returns. In the ordinary course of business, the ultimate purchaser of the

        Debtors’ products may return those products to the Debtors’ Customers. Pursuant to their

        contracts with their Customers, the Debtors have either agreed to reimburse their

        Customers by providing a set percentage discount based on gross sales regardless of the

        number of returns or to reimburse their Customers based on a value relative to the actual

        returned products.

                 (iii)       Spoilage. In the ordinary course of business, a certain percentage of the

        Debtors’ products get lost or damaged in transit. Instead of addressing these instances on

        a case by case basis, the Debtors typically agree to provide certain of their Customers a set

        percentage discount to compensate for the lost or damaged products.

                 (iv)        Advertising; Promotion.    The Debtors are contractually obligated to

        participate in certain advertising and promotional campaigns run by their Customers and

        are contractually entitled to opt into certain other promotions, e.g., Prime Day on Amazon

        and other discount programs. The cost of participating in these campaigns is offset by

        contract against amounts otherwise due to the Debtors.

        85.      The disruption of the Debtors’ operations attendant to the failure to maintain the

Customer Programs would cause the Debtors’ estates to lose revenue, which could negatively

impact the Debtors’ ability to achieve their chapter 11 objectives. The potential harm and

economic disadvantage that would stem from the failure to honor any of the Debtors’ prepetition

obligations is grossly disproportionate to the amount of the prepetition claims that may be paid.

Continuing the Customer Programs without interruption during these chapter 11 cases will help

preserve the Debtors’ valuable Customer relationships and goodwill, which will inure to the

benefit of all of the Debtors’ creditors and stakeholders. Continuing the Customer Programs will




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also allow the Debtors to operate in the ordinary course of business. If the Debtors are unable to

continue their Customer Programs postpetition or to pay amounts or other value due and owing to

their Customers under the various Customer Programs, the Debtors risk alienating certain

Customer constituencies and suffering corresponding losses in Customer loyalty and goodwill that

will harm the Debtors’ prospects for a restructuring that maximizes value.

I.      Debtors’ Emergency Motion for Entry of an Order (I) Authorizing the Debtors to (A)
        Continue Insurance Coverage Entered into Prepetition and Satisfy Prepetition
        Obligations Related Thereto, (B) Honor and Renew the Premium Financing Agreement
        Entered Into Prepetition and Satisfy Obligations Related Thereto, and (C) Renew,
        Amend, Supplement, Extend, or Purchase Insurance Policies; and (II) Granting Related
        Relief (the “Insurance Motion”)

        86.      By the Insurance Motion, the Debtors seek an order (a) authorizing the Debtors to

(i) continue insurance coverage entered into prepetition and satisfy prepetition obligations related

thereto in the ordinary course of business, (ii) honor and renew any premium financing agreement

entered into prepetition and satisfy obligations related thereto, and enter into new premium

financing agreements in the ordinary course of business, and (iii) renew, amend, supplement,

extend, or purchase insurance coverage in the ordinary course of business on a postpetition basis;

and (b) granting related relief.

        87.      In the ordinary course, the Debtors maintain approximately twenty-three (23)

insurance policies (collectively, the “Insurance Policies,” and the carriers thereof, the “Insurance

Carriers”), providing coverage for, among other things, commercial property, flood, tank pollution,

cyber, employer practice, and directors’ and officers’ liability. The Insurance Policies are essential

to the preservation of the Debtors’ business and assets, and, in many instances, such insurance

coverage is required by regulation, law, or contract that governs the Debtors’ business. The

Debtors are also members of a member-owned group captive insurance pool, Resolute Insurance,




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which provides automobile and workers compensation coverage. A comprehensive list of the

Insurance Policies is attached to the Insurance Motion.

        88.      To preserve the value of the Debtors’ business operations, properties, and assets,

it is essential that the Debtors be able to continue or renew the Insurance Policies and enter into

new insurance policies. In many cases, regulations, laws, and contract provisions that govern the

Debtors’ commercial activities require the types of coverage provided for under the Insurance

Policies, as well as the Bankruptcy Code and the operating guidelines issued by the United States

Trustee for Region 7 (the “U.S. Trustee Guidelines”). The relief requested is designed to ensure

uninterrupted coverage under the Insurance Policies.

                                            Sale Motions

J.      Debtors’ Emergency Motion for Entry of Orders (A)(I) Authorizing Asset Purchase
        Agreement for Sale of Substantially All of Debtors’ Assets (II) Approving Bidding
        Procedures for Sale of Debtors’ Assets, (III) Approving Bid Protections, (IV) Scheduling
        Certain Dates With Respect Thereto, (V) Approving the Form and Manner of Notice
        Thereof, and (VI) Approving Contract Assumption and Assignment Procedures; (B)
        Approving (I) Sale of Certain Assets Free and Clear of All Liens, Claims,
        Encumbrances, and Other Interests, and (II) Assumption and Assignment of Certain
        Contracts and Leases; and (C) Granting Related Relief (the “Sale/Procedures Motion”)

        89.      As discussed above, the Debtors filed the chapter 11 cases to effectuate a sale of

substantially all their assets to a going-concern buyer through a transaction that will preserve the

Debtors’ business operations, jobs, and vendor relationships. Before the Petition Date, the Debtors

engaged Lincoln as their investment banker in connection with the Debtors’ efforts to identify such

a going-concern buyer. The Debtors have been engaged in a robust marketing process since July

2023 to assist with the identification of one or more parties interested in consummating a sale

transaction with the Debtors contacted parties it believed were most likely to be interested in the

Debtors’ business and assets.




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        90.      These discussions culminated in the Stalking Horse Purchase Agreement. By the

Sale/Procedures Motion, the Debtors seek an order (the “Sale Order”), among other things,

(a) approving the sale of the Debtors’ assets to the Stalking Horse Purchaser or other successful

bidder at the Auction free and clear of liens, claims and interests pursuant to Bankruptcy Code

section 363(f), (b) approving the Bidding Procedures; (c) approving the assumption and

assignment of the Contracts; (d) determining that the Stalking Horse Purchaser or other successful

bidder is a good faith purchaser pursuant to Bankruptcy Code section 363(f) and (m), and is entitled

to the protections of Bankruptcy Code section 363(m), and (e) granting related relief.

        91.      Commencing in July 2023, Lincoln contacted approximately sixty potential buyers.

To date, twenty-three of these parties have signed non-disclosure agreements and have received

access to the comprehensive Data Room. Five of those parties held management meetings, and

four conducted site visits. Ultimately, three parties submitted preliminary, non-binding Indications

of Interest (IOIs).

        92.      On September 11, 2023, the Debtors entered into the Stalking Horse Purchase

Agreement with the Stalking Horse Purchaser. The proposed purchase price for the Purchased

Assets7 is $85,000,000, subject to adjustment or holdback as set forth in the Stalking Horse

Purchase Agreement, plus an additional $4,100,000 to be allocated to Banc of America Leasing &

Capital, LLC for Non-Automated Equipment, plus the assumption of certain liabilities.

        93.      The Debtors are seeking approval of the Bidding Procedures to establish a clear and

open process for the solicitation, receipt, and evaluation of overbids on a timeline that allows the

Debtors to consummate a Sale of substantially all of the Debtors’ Property that the Debtors believe

is reasonable and will provide parties with sufficient time and information to submit a competitive


7
     The Purchased Assets are substantially all of the Debtors’ assets relating to the operation of their
     Business (as defined in the Stalking Horse Purchase Agreement).


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bid. In formulating the Bidding Procedures and time periods set forth therein, the Debtors balanced

the need to provide adequate notice to parties in interest and potential bidders with the need to run

a fulsome, expeditious, and efficient marketing process. The Bidding Procedures are designed to

generate the highest or otherwise best available recoveries to the Debtors’ stakeholders by

encouraging prospective bidders to submit competitive, value-maximizing bids. The Bidding

Procedures are designed to allow the Debtors sufficient time to conduct a Sale and potentially an

Auction while simultaneously ensuring that the Debtors maintain sufficient runway in these

chapter 11 cases.

        94.      The Debtors also request authority, as set forth in the Bidding Procedures, Bidding

Procedures Order, and Stalking Horse Purchase Agreement with the Stalking Horse Purchaser to

provide the Breakup Fee ($3.4 million) and Expense Reimbursement (up to $550,000). Such Bid

Protections would be an actual and necessary cost of preserving the value of the Debtors’ estates.

        95.      The Breakup Fee and Expense Reimbursement are a critical component of the

proposed transaction. The Stalking Horse Purchaser has expended and will continue to expend

time and resources negotiating, drafting, and performing due diligence activities necessitated by

the Sale transaction, despite the fact that its bid will be subject not only to Court approval, but also

to overbidding by third parties. The Breakup Fee and Expense Reimbursement have been

negotiated in good faith and at arm’s length and with significant give-and-take with respect to such

Breakup Fee and Expense Reimbursement. As a result, by the Breakup Fee and Expense

Reimbursement, the Debtors ensure that their estates can realize the benefit of a transaction with

the Stalking Horse Purchaser without sacrificing the potential for interested parties to submit

overbids at the Auction.




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        96.      As discussed in the Sale/Procedures Motion, approval of the Bidding Procedures

and the other requested relief is in the best interest of the estates will allow the Debtors to

implement a reasonable auction/overbidding process for the benefit of all stakeholders.

        Executed this 12th day of September 2023 at Chatsworth, California.



                                             /s/ Gayla Bella
                                                Gayla Bella




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                          EXHIBIT A
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Noble House Home Furnishings and Related Entity Structure

                        Non-Debtor
    Debtor                                                                                                                                        NOBLE HOUSE
                          Entities                                                                                                                HOME FUR,NISHINGS 1..L.C


                                                         Heavy Metal Inc.

                                                    • 100% owned by 4
                                                                                                        Other Members
                                                      seperate Marshall R.                              No Voting Rights
                                                      Bernes family trusts



                                                                             Noble House Home
                                                                              Furnishings LLC

                                                                             • 79.32% owned by
                                                                               Heavy Metal Inc.
                                                                             • 20.65% owned by other
                                                                               Members



  Best Selling Home                  Le Pouf, LLC              Noble House Home            Noble House Home          Noble House Home          Noble House Home
 Decor Furniture, LLC                                          Furnishings Canada            Furnishings UK          Furnishings, S.De          Furnishings (HK)
                                                                       Inc.                      Limited                R.L. De C.V.                 Limited
                           - -    • BeanBag/Pout
 •Ecommerce                        Ecommerce
                                                               •Ecommerce                 •Ecommerce                 •Ecommerce               •Asia HoldingCompany
 •100% owned by Noble             •100% owned by Noble         •100% owned by Noble       •100% owned by Noble       •100% owned by Noble     •100% owned by Noble
  House Home                       House Home                   House Home                 House Home                 House Home               House Home
  FurnishingsLLC                   FurnishingsLLC               FurnishingsLLC             FurnishingsLLC             FurnishingsLLC           FurnishingsLLC



  NH Services LLC

 •Transportation/Logistics -.._
 •100% owned by Noble                                          Noble House Home           Noble House Home               Fujian Baimei          Baimei (Fujian)
  House Home                                                   Furnishings Vietnam         Furnishings (MY)          Electronic Commerce      Network information
  FurnishingsLLC                                                                               Sdn.Bhd                      Co., Ltd.         Technology Co., Ltd.
                                                               Company Limited
                                                               •SourcingLogistics        •SourcingLogistics         •SourcingLogistics        •Tech/DevCompany
                                                               •100% owned by Noble      •100% owned by Noble       •100% owned by Noble      •100% owned by Noble
                                                                House Home                House Home Furnishings     House Home Furnishings    House Home
   Noble House                                                                                                                                 Furnishings (HK) Limited
                                                                Furnishings (HK)          (HK) Limited               (HK) Limited
  Assurance, LLC
                          -                                     Limited
 •InsuranceCaptive
 •100% owned by Noble
  House Home
  FurnishingsLLC
